             Case 1:21-cv-01469-ACA Document 10 Filed 12/13/21 Page 1 of 1                              FILED
                                                                                               2021 Dec-13 AM 09:31
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   EASTERN DIVISION

                                                 }
James Harbin, et al.,                            }
                                                 }
                         Plaintiffs,             }
                                                 }
        v.                                       }   Case Number: 1:21-cv-1469-ACA
                                                 }
TPFE, Inc., et al.,                              }
                                                 }
                         Defendants.             }


                                       ENTRY OF DEFAULT

        Upon verified application of counsel for the plaintiffs and the records of this court
reflecting that more than twenty-one (21) days have elapsed since defendant, TPFE, Inc., was duly
served and that the defendant, TPFE, Inc., has failed to answer or otherwise plead to the complaint;

        It is ADJUDGED that the defendant, TPFE, Inc., is in default and that the plaintiffs, James
Harbin, Shonnie Maglione, and Tina Ridley, have and recover of the defendant such sum as the
plaintiffs shall prove to the Court, together with costs.

        DONE on December 13, 2021.

                                                     SHARON N. HARRIS, CLERK



                                                     By:    s/ K Kimbrough Moore
                                                             Deputy Clerk
